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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
DALE STROUD and KARI STROUD PLAINTIFFS
v. No. 4:12-cV-500-DPM
SOUTHWESTERN ENERGY COMPANY
and SEECO INC. DEFENDANTS
ORDER

The Court has received the ]udgment and l\/landate from the Court of
Appeals. NQ 179 § 180. The Court Would appreciate, and benefit from, the
parties' suggestions on a schedule for handling the case. What needs to be
done before We have a trial? Please confer and, if there is a mutually
acceptable plan, file a joint report explaining it by 28 ]une 2017. If there is
disagreement, file separate status reports by that date. The Court Will hold
a status conference, if need be, thereafter.

So Ordered.

D.P. Marshall ]r.
United States District ]udge

 

 

